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                   EXHIBIT 1
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    10   www.patpat.com
    11                            UNITED STATES DISTRICT COURT
    12                       CENTRAL DISTRICT OF CALIFORNIA
    13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPR
         INC., a California Corporation,
    14                                          DEFENDANT AND COUNTERCLAIM
                     Plaintiff,                 PLAINTIFF INTERFOCUS, INC. d.b.a.
    15                                          WWW.PATPAT.COM’S RESPONSES TO
               v.                               PLAINTIFF AND COUNTERCLAIM
    16                                          DEFENDANT’S REQUEST FOR
         INTERFOCUS, INC. d.b.a.                INTERROGATORIES
    17 www.patpat.com, a Delaware
         Corporation; CAN WANG, and
    18 individual, and DOES 1-10, inclusive,

    19               Defendants.
    20
       INTERFOCUS, INC. d.b.a.
    21 www.patpat.com, a Delaware
       Corporation; CAN WANG, and
    22 individual, and DOES 1-10, inclusive,

    23               Counterclaim Plaintiffs

    24         v.

    25 NEMAN BROTHERS & ASSOC.,
         INC., a California Corporation,
    26
                     Counterclaim Defendant.
    27

    28

              INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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     1        Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant and
     2 Counterclaim Plaintiff, Interfocus, Inc. d.b.a. www.patpat.com (“INTERFOCUS”),

     3 by and through its undersigned attorneys, Rimon P.C., serves its Responses and

     4 Objections to Plaintiffs and Counterclaim Defendants Neman Brothers & Assoc.,

     5 Inc. (“Plaintiffs”) First Set of Interrogatories (the “Interrogatories”) as follows:

     6         PRELIMINARY STATEMENT AND GENERAL OBJECTIONS
     7        These General Objections are incorporated by reference into the response to
     8 each request.

     9        1.     INTERFOCUS objects to the Interrogatories to the extent that they
    10 exceed the scope of discovery or any applicable court rule.

    11        2.     INTERFOCUS objects to the Interrogatories to the extent that they
    12 seek information protected from disclosure by the attorney-client privilege, the

    13 work-product doctrine, or any other applicable privilege. If INTERFOCUS

    14 inadvertently produces any information falling within any applicable privilege,

    15 INTERFOCUS does not intend to waive the applicable privilege.

    16        3.     INTERFOCUS objects to the Interrogatories to the extent that they
    17 seek information that is protected from disclosure by the rights of privacy.

    18        4.     INTERFOCUS objects to the Interrogatories to the extent that they are
    19 vague, ambiguous, overbroad in scope, uncertain as to time, unduly burdensome,

    20 oppressive, or seek information that is neither relevant to the subject matter of this

    21 litigation nor reasonably calculated to lead to the discovery of admissible evidence.

    22        5.     INTERFOCUS objects to the Interrogatories to the extent that they call
    23 for or contain a legal conclusion, opinion, legal argument, or factual or legal

    24 misrepresentation.

    25        6.     INTERFOCUS objects to the Interrogatories to the extent they seek
    26 information that is publicly available and/or within Plaintiff’s possession, custody,

    27 or control and/or equally available to Plaintiff.

    28        7.     INTERFOCUS objects to the Interrogatories to the extent they seek the
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             INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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     1 premature disclosure of expert testimony or information or purport to require

     2 INTERFOCUS to disclose analyses, opinions, or theories that will be the subject of

     3 expert testimony. INTERFOCUS’ responses to the Interrogatories are made without

     4 prejudice to INTERFOCUS’ right during the further course of these proceedings,

     5 including at trial, to rely upon, refer to, or put into evidence additional expert

     6 information, testimony, or reports.

     7        8.     INTERFOCUS specifically objects to PLAINTIFF’S definition of the
     8 terms “YOU” or “YOUR” to the extent that they intend to seek information that are

     9 attorney client privileged communication or attorney workproduct and to the extent

    10 that they include personnel that are not employed by INTERFOCUS or under the

    11 control of INTERFOCUS.

    12        9.     INTERFOCUS specifically objects to PLAINTIFF’S definition of the
    13 terms “SUBJECT DESIGN,” “ACCUSED PRODUCT,” AND “ACCUSED

    14 PATTERN” to the extent that they can refer to one design, one product, one pattern

    15 or multiple designs, products or patterns; therefore they make multiple

    16 interrogatories vague, ambiguous, and confusing.

    17        10.    INTERFOCUS specifically objects to PLAINTIFF’S definition of the
    18 term “CONTACT INFORMATION” to the extent that it seeks information that is

    19 neither relevant to the subject matter of this litigation nor reasonably calculated to

    20 lead to the discovery of admissible evidence. INTERFOCUS also specifically

    21 objects to PLAINTIFF’S definition of the term “CONTACT INFORMATION” to

    22 the extent that it seeks confidential information protected from disclosure under

    23 common law, statutory, constitutional rights to privacy and data privacy law in

    24 California. INTERFOCUS will only provide such information pursuant to the terms

    25 of the protective order entered by the Court in this matter. INTERFOCUS also

    26 objects to the various definitions of “CONTACT INFORMATION” as overbroad in

    27 scope, uncertain as to time, unduly burdensome, oppressive, vastly disproportionate

    28 to the number of relevant sales or the amount of potential damages at issue in this
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           INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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     1 case.

     2         11.    INTERFOCUS investigation into the matters related to these
     3 interrogatories is ongoing. Thus, although INTERFOCUS is providing its best and

     4 most accurate responses to this discovery, it cannot exclude the possibility that the

     5 current responses are incomplete, or even inaccurate. INTERFOCUS therefore

     6 reserves the right to supplement and amend these responses if and when further,

     7 more complete or more accurate information becomes available.

     8                        RESPONSES TO INTERROGATORIES
     9         Subject to and without waiving any of its General Objections, INTERFOCUS
    10 responds more specifically to Propounding Party’s Interrogatories as follows:

    11
         INTERROGATORY NO. 1
    12
               If YOU contend that the Plaintiff does not own the SUBJECT DESIGN, state
    13
         all facts supporting the contention.
    14
         RESPONSE TO INTERROGATORY NO. 1:
    15
               Without waiving its general objections, this response is based on the fact that
    16
         Plaintiff has provided only incomplete documentation to support its copyright
    17
         ownership claim, that Plaintiff has made no initial disclosures to support its
    18
         ownership claims in violation of local and federal rules, and that it is informed and
    19
         believes that the designs at issue are very similar to independently created pre-
    20
         existing designs that are widely available in the Chinese market where the products
    21
         at issue were produced by independent vendors. INTERFOCUS’ investigation and
    22
         discovery are continuing, and it reserves the right to provide a supplemental
    23
         response to this interrogatory as it discovers additional facts to support this
    24
         response.
    25
         INTERROGATORY NO. 2
    26
               If YOU contend that the SUBJECT DESIGN is not original, state all facts
    27
         supporting the contention.
    28
                                           -3-
            INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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     1 RESPONSE TO INTERROGATORY NO. 2:

     2        Without waiving its general objections, this response is based on the fact that
     3 Plaintiff has provided no documentation to support its originality claim, that

     4 Plaintiff has made no initial disclosures to support its originality claims in violation

     5 of local and federal rules, and that it is informed and believes that the designs at

     6 issue are very similar to independently created pre-existing designs that are widely

     7 available in the Chinese market where the products at issue were produced by

     8 independent vendors. INTERFOCUS’ investigation and discovery are continuing,

     9 and it reserves the right to provide a supplemental response to this interrogatory as it

    10 discovers additional facts to support this response.

    11 INTERROGATORY NO. 3

    12        If YOU contend that Plaintiff’s registration of the SUBJECT DESIGN is
    13 invalid, state all facts supporting the contention.

    14 RESPONSE TO INTERROGATORY NO. 3:

    15        Without waiving its general objections, this response is based on the fact that
    16 Plaintiff has provided no independent documentation to support its validity claim,

    17 that Plaintiff has made no initial disclosures to support its validity claims in

    18 violation of local and federal rules, and that it is informed and believes that the

    19 designs at issue are very similar to independently created pre-existing designs that

    20 are widely available in the Chinese market where the products at issue were

    21 produced by independent vendors. INTERFOCUS’ investigation and discovery are

    22 continuing, and it reserves the right to provide a supplemental response to this

    23 interrogatory as it discovers additional facts to support this response.

    24 INTERROGATORY NO. 4

    25        If YOU contend that YOU did not copy the SUBJECT DESIGN, state all
    26 facts supporting the contention.

    27 RESPONSE TO INTERROGATORY NO. 4:

    28
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            INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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     1        INTERFOCUS purchases garments already manufactured from third party
     2 vendors. INTERFOCUS does not and has not designed any fabric relating to the

     3 SUBJECT DESIGN, ACCUSED PRODUCT or ACCUSE PATTERN.

     4 INTERFOCUS did not and could not have copied any fabric designs, let alone

     5 anything owned by Plaintiff. In addition, based on information and belief,

     6 INTERFOCUS’ vendors purchase fabrics on the open market to make their

     7 garments. INTERFOCUS believes that the first-sale doctrine bars plaintiff from

     8 seeking any damages from INTERFOCUS or its vendors.

     9 INTERROGATORY NO. 5:

    10        If YOU contend any part of the pre-existing designs created prior to the
    11 registration date of the SUBJECT DESIGN is similar with any part of the SUBJECT

    12 DESIGN, IDENTIFY all of such part of the said pre-existing designs.

    13 RESPONSE TO INTERROGATORY NO. 5:

    14        InterFocus is producing those similar pre-existing designs in response to the
    15 concurrently served request for productions of documents, and it objects to verbally

    16 describing the similarities depicted by those images here on the grounds that the

    17 request is oppressive, harassing, and burdensome.

    18 INTERROGATORY NO. 6:

    19        IDENTIFY the SAMPLING PROCEDURE YOU had with any VENDOR.
    20 RESPONSE TO INTERROGATORY NO. 6:

    21        INTERFOCUS objects to this request as overly broad, unduly burdensome,
    22 repetitive of other discovery requests, and seeks confidential, proprietary

    23 information that is not relevant to any party’s claims or defenses and proportional to

    24 the needs of the case. INTERFOCUS objects to this request on the ground that

    25 parties have previously settled any alleged copyright infringement as of March 21,

    26 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

    27 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

    28 further objects to this request on the grounds that it goes far behind the three years
                                                  -5-
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     1 of statute of limitation for copyright infringement. INTERFOCUS further objects to

     2 this request as disproportional to what is needed to understand the number of sales

     3 relating to ACCUSED PRODUCT, which was only 186 pieces total, including those

     4 sold before March 20, 2020 thus part of the earlier settlement.

     5        Subject to the general and specific objections above, INTERFOCUS states
     6 that a potential vendor would upload photos of garments for INTERFOCUS to

     7 review, INTERFOCUS would then request vendor to send a sample to

     8 INTERFOCUS if there is anything INTERFOCUS likes. INTERFOCUS would

     9 verify the quality of the sample garment, if meeting INTERFOCUS’ requirements,

    10 send a purchase order to the vendor. Vendor would ship the ordered garments to

    11 INTERFOCUS’ warehouse within seven (7) days for quality inspection. Once

    12 garments pass quality inspection, INTERFOCUS will start sales of such garments

    13 by uploading photos of garments and pricing information onto the patpat platfom.

    14 INTERROGATORY NO. 7:

    15        IDENTIFY the SAMPLING PROCEDURE YOU had with any customer who
    16 purchased the ACCUSED PRODUCTS for the purpose of reselling as a merchant,

    17 not an end user.

    18 RESPONSE TO INTERROGATORY NO. 7:

    19        INTERFOCUS objects to this request as overly broad, unduly burdensome,
    20 repetitive of other discovery requests, and seeks confidential, proprietary

    21 information that is not relevant to any party’s claims or defenses and proportional to

    22 the needs of the case. INTERFOCUS objects to this request on the ground that

    23 parties have previously settled any alleged copyright infringement as of March 21,

    24 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

    25 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

    26 further objects to this request on the grounds that it goes far behind the three years

    27 of statute of limitation for copyright infringement. INTERFOCUS further objects to

    28 this request as disproportional to what is needed to understand the number of sales
                                                  -6-
           INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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     1 relating to ACCUSED PRODUCT, which was only 186 pieces total, including those

     2 sold before March 20, 2020 thus part of the earlier settlement.

     3        Subject to the general and specific objections above, INTERFOCUS does not
     4 have a SAMPLING PROCEDURE with any customer.

     5 INTERROGATORY NO. 8:

     6        If YOU contend a VENDOR uploaded the picture or the information of the
     7 SUBJECT PRODUCT on YOUR website, state all facts supporting such contention.

     8 RESPONSE TO INTERROGATORY NO. 8:

     9        INTERFOCUS objects to this request as overly broad, unduly burdensome,
    10 repetitive of other discovery requests, and seeks confidential, proprietary

    11 information that is not relevant to any party’s claims or defenses and proportional to

    12 the needs of the case. INTERFOCUS objects to this request on the ground that

    13 parties have previously settled any alleged copyright infringement as of March 21,

    14 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

    15 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

    16 further objects to this request on the grounds that it goes far behind the three years

    17 of statute of limitation for copyright infringement. INTERFOCUS also objects to

    18 this request on the ground that the term “SUBJECT PRODUCT” has not been

    19 defined.

    20        Subject to the general and specific objections above, INTERFOCUS does not
    21 contend that a vendor uploaded information relating to any ACCUSED PRODUCT

    22 onto the patpat platform.

    23

    24 INTERROGATORY NO. 9:

    25        IDENTIFY all expert witnesses YOU contacted in connection with this case.
    26 RESPONSE TO INTERROGATORY NO. 9:

    27        INTERFOCUS objects to this request as overly broad, unduly burdensome,
    28 repetitive of other discovery requests, and seeks confidential, proprietary
                                                 -7-
           INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 information that is not relevant to any party’s claims or defenses and proportional to

  2 the needs of the case. INTERFOCUS objects to this request on the ground that

  3 parties have previously settled any alleged copyright infringement as of March 21,

  4 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

  5 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

  6 further objects to this request on the grounds that it goes far behind the three years

  7 of statute of limitation for copyright infringement. INTERFOCUS further objects to

  8 this request as it solicits attorney-client privileged communication and attorney work

  9 product.

 10 INTERROGATORY NO. 10:

 11        If YOU contend that YOU independently created the ACCUSED PATTERN,
 12 state all facts supporting the contention.

 13 RESPONSE TO INTERROGATORY NO. 10:

 14        INTERFOCUS objects to this request as overly broad, unduly burdensome,
 15 repetitive of other discovery requests, and seeks confidential, proprietary

 16 information that is not relevant to any party’s claims or defenses and proportional to

 17 the needs of the case. INTERFOCUS objects to this request on the ground that

 18 parties have previously settled any alleged copyright infringement as of March 21,

 19 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 20 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 21 further objects to this request on the grounds that it goes far behind the three years

 22 of statute of limitation for copyright infringement. INTERFOCUS also objects to

 23 this request on the ground that the term “SUBJECT PRODUCT” has not been

 24 defined.

 25        Subject to the general and specific objections above, INTERFOCUS does not
 26 contend that it independently created the ACCUSE PATTERN.

 27 INTERROGATORY NO. 11:

 28        Account for YOUR total sales, or the total sale through YOUR website, of the
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         INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 ACCUSED PRODUCT by stating the total number of units sold to each customer

  2 broken down by SKU or internal style number (with the number of each).

  3 RESPONSE TO INTERROGATORY NO. 11:

  4        INTERFOCUS objects to this request as overly broad, unduly burdensome,
  5 repetitive of other discovery requests, and seeks confidential, proprietary

  6 information that is not relevant to any party’s claims or defenses and proportional to

  7 the needs of the case. INTERFOCUS objects to this request on the ground that

  8 parties have previously settled any alleged copyright infringement as of March 21,

  9 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 10 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 11 further objects to this request on the grounds that it goes far behind the three years

 12 of statute of limitation for copyright infringement. INTERFOCUS further objects to

 13 this request as disproportional to what is needed to understand the number of sales

 14 relating to ACCUSED PRODUCT, which was only 186 pieces total, including those

 15 sold before March 20, 2020 thus part of the earlier settlement.

 16        Subject to the general and specific objections above, INTERFOCUS provides
 17 a spreadsheet which contains information regarding all the sales of the ACCUSED

 18 PRODUCT.

 19 INTERROGATORY NO. 12:

 20        IDENTIFY each and every expenses or costs that YOU incurred in selling the
 21 ACCUSED PRODUCT.

 22 RESPONSE TO INTERROGATORY NO. 12:

 23        INTERFOCUS objects to this request as overly broad, unduly burdensome,
 24 repetitive of other discovery requests, and seeks confidential, proprietary

 25 information that is not relevant to any party’s claims or defenses and proportional to

 26 the needs of the case. INTERFOCUS objects to this request on the ground that

 27 parties have previously settled any alleged copyright infringement as of March 21,

 28 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT
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       INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

  2 further objects to this request on the grounds that it goes far behind the three years

  3 of statute of limitation for copyright infringement. INTERFOCUS further objects to

  4 this request as disproportional to what is needed to understand the amount of costs

  5 relating to ACCUSED PRODUCT, which was only sold for186 pieces total,

  6 including those sold before March 20, 2020 thus part of the earlier settlement.

  7         Subject to the general and specific objections above, INTERFOCUS provides
  8 a spreadsheet which contains information regarding the costs of the ACCUSED

  9 PRODUCT.

 10 INTERROGATORY NO. 13:

 11         IDENTIFY the time period during which YOU purchased, or a VENDOR
 12 posted on YOUR WEBSITE, the ACCUSED PRODUCT.

 13 RESPONSE TO INTERROGATORY NO. 13:

 14         INTERFOCUS objects to this request as overly broad, unduly burdensome,
 15 repetitive of other discovery requests, and seeks confidential, proprietary

 16 information that is not relevant to any party’s claims or defenses and proportional to

 17 the needs of the case. INTERFOCUS objects to this request on the ground that

 18 parties have previously settled any alleged copyright infringement as of March 21,

 19 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 20 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 21 further objects to this request on the grounds that it goes far behind the three years

 22 of statute of limitation for copyright infringement. INTERFOCUS further objects to

 23 this request as disproportional to what is at stake in this litigation, where the

 24 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

 25 before March 20, 2020 thus part of the earlier settlement.

 26         Subject to the general and specific objections above, INTERFOCUS provides
 27 a spreadsheet which contains information regarding the time period that the

 28 ACCUSED PRODUCT was sold.
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         INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 INTERROGATORY NO. 14:

  2         IDENTIFY the time period during which YOU sold, or a VENDOR sold
  3 through YOUR WEBSITE, the SUBJECT PRODUCT.

  4 RESPONSE TO INTERROGATORY NO. 14:

  5         INTERFOCUS objects to this request as overly broad, unduly burdensome,
  6 repetitive of other discovery requests, and seeks confidential, proprietary

  7 information that is not relevant to any party’s claims or defenses and proportional to

  8 the needs of the case. INTERFOCUS objects to this request on the ground that

  9 parties have previously settled any alleged copyright infringement as of March 21,

 10 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 11 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 12 further objects to this request on the grounds that it goes far behind the three years

 13 of statute of limitation for copyright infringement. INTERFOCUS further objects to

 14 this request as disproportional to what is at stake in this litigation, where the

 15 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

 16 before March 20, 2020 thus part of the earlier settlement. INTERFOCUS also

 17 objects to this request on the ground that the term “SUBJECT PRODUCT” has not

 18 been defined.

 19         Subject to the general and specific objections above, INTERFOCUS provides
 20 a spreadsheet which contains information regarding the time period that the

 21 ACCUSED PRODUCT was sold.

 22 INTERROGATORY NO. 15:

 23         IDENTIFY each DOCUMENT that is responsive to each interrogatory
 24 contained in these Interrogatories herein, including reference to Bates Numbers

 25 when a DOCUMENT is produced in lieu of written statements as responses to any

 26 of the Interrogatories herein.

 27 RESPONSE TO INTERROGATORY NO. 15:

 28         INTERFOCUS objects to this request as overly broad, unduly burdensome,
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  1 repetitive of other discovery requests, and seeks confidential, proprietary

  2 information that is not relevant to any party’s claims or defenses and proportional to

  3 the needs of the case. INTERFOCUS objects to this request on the ground that

  4 parties have previously settled any alleged copyright infringement as of March 21,

  5 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

  6 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

  7 further objects to this request on the grounds that it goes far behind the three years

  8 of statute of limitation for copyright infringement. INTERFOCUS further objects to

  9 this request as disproportional to what is at stake in this litigation, where the

 10 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

 11 before March 20, 2020 thus part of the earlier settlement.

 12 INTERROGATORY NO. 16:

 13         IDENTIFY all PERSONS with knowledge of any facts stated in YOUR
 14 responses to any of the Interrogatories herein.

 15 RESPONSE TO INTERROGATORY NO. 16:

 16         INTERFOCUS objects to this request as overly broad, unduly burdensome,
 17 repetitive of other discovery requests, and seeks confidential, proprietary

 18 information that is not relevant to any party’s claims or defenses and proportional to

 19 the needs of the case. INTERFOCUS objects to this request on the ground that

 20 parties have previously settled any alleged copyright infringement as of March 21,

 21 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 22 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 23 further objects to this request on the grounds that it goes far behind the three years

 24 of statute of limitation for copyright infringement. INTERFOCUS further objects to

 25 this request as disproportional to what is at stake in this litigation, where the

 26 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

 27 before March 20, 2020 thus part of the earlier settlement.

 28         Subject to the general and specific objections above, INTERFOCUS
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         INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 identifies Weiwei Le, Senior Operations Manager as the person most knowledgeable

  2 to these discovery requests located in the United States.

  3 INTERROGATORY NO. 17:

  4         IDENTIFY all of the INVENTORIES.

  5 RESPONSE TO INTERROGATORY NO. 17:

  6         INTERFOCUS objects to this request as overly broad, unduly burdensome,
  7 repetitive of other discovery requests, and seeks confidential, proprietary

  8 information that is not relevant to any party’s claims or defenses and proportional to

  9 the needs of the case. INTERFOCUS objects to this request on the ground that

 10 parties have previously settled any alleged copyright infringement as of March 21,

 11 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 12 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 13 further objects to this request on the grounds that it goes far behind the three years

 14 of statute of limitation for copyright infringement. INTERFOCUS further objects to

 15 this request as disproportional to what is at stake in this litigation, where the

 16 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

 17 before March 20, 2020 thus part of the earlier settlement.

 18         Subject to the general and specific objections above, INTERFOCUS does not
 19 have any INVENTORIES relating to ACCUSED PRODUCT. They have either

 20 been sold, or for those taken down after receiving Plaintiff’s notice, destroyed.

 21 INTERROGATORY NO. 18:

 22         Describe all preventive measures that YOU have taken in connection with the
 23 ACCUSED PRODUCT, in order to avoid copyright infringement including, but not

 24 limited to, indemnification agreements, orders to stop sales, vendor verification

 25 processes, and internal controls.

 26 RESPONSE TO INTERROGATORY NO. 18:

 27         INTERFOCUS objects to this request as overly broad, unduly burdensome,
 28 repetitive of other discovery requests, and seeks confidential, proprietary
                                              -13-
        INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 information that is not relevant to any party’s claims or defenses and proportional to

  2 the needs of the case. INTERFOCUS objects to this request on the ground that

  3 parties have previously settled any alleged copyright infringement as of March 21,

  4 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

  5 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

  6 further objects to this request on the grounds that it goes far behind the three years

  7 of statute of limitation for copyright infringement. INTERFOCUS further objects to

  8 this request as disproportional to what is at stake in this litigation, where the

  9 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

 10 before March 20, 2020 thus part of the earlier settlement.

 11        Subject to the general and specific objections above, INTERFOCUS routinely
 12 take down any garment relating to which a complaint, notice, or cease or desist has

 13 been received. INTERFOCUS also requires vendors to license its intellectual

 14 property to INTERFOCUS.

 15 INTERROGATORY NO. 19:

 16        If YOU contend that YOUR sale of the ACCUSED PRODUCT are
 17 attributable to factors other than the SUBJECT DESIGN, state all facts supporting

 18 such contention.

 19 RESPONSE TO INTERROGATORY NO. 19:

 20        INTERFOCUS objects to this request as overly broad, unduly burdensome,
 21 repetitive of other discovery requests, and seeks confidential, proprietary

 22 information that is not relevant to any party’s claims or defenses and proportional to

 23 the needs of the case. INTERFOCUS objects to this request on the ground that

 24 parties have previously settled any alleged copyright infringement as of March 21,

 25 2020; therefore, any DOCUMENTS relating to any of the ACCUSED PRODUCT

 26 before the date of the settlement is irrelevant to this litigation. INTERFOCUS

 27 further objects to this request on the grounds that it goes far behind the three years

 28 of statute of limitation for copyright infringement. INTERFOCUS further objects to
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  1 this request as disproportional to what is at stake in this litigation, where the

  2 ACCUSED PRODUCT was only sold for186 pieces total, including those sold

  3 before March 20, 2020 thus part of the earlier settlement.

  4        Subject to the general and specific objections above, INTERFOCUS contends
  5 that the sale of the ACCUSED PRODUCT has mostly been attributed to the

  6 excellent price/quality ratio of its products.

  7 INTERROGATORY NO. 20:

  8        If any of YOUR response to any of Plaintiff’s Requests for Admissions (Set
  9 ONE) is not an unqualified admission, state all facts supporting such a response.

 10 RESPONSE TO INTERROGATORY NO. 20:

 11        INTERFOCUS objects to this interrogatory on the ground it is oppressive,
 12 harassing and burdensome because, inter alia, it seeks to require INTERFOCUS to

 13 provide information in response to twenty-two discrete requests for admissions and,

 14 when combined with the previous and subsequent interrogatories served herein,

 15 thereby exceeds the twenty-five interrogatory imposed by Fed. R. Civ. Proc. 33.

 16 INTERROGATORY NO. 21:

 17        If any of YOUR response to any of Plaintiff’s Requests for Admissions (Set
 18 ONE) is not an unqualified admission, IDENIFY ALL PERSONS having any

 19 personal knowledge as to any facts supporting such a response.

 20 RESPONSE TO INTERROGATORY NO. 21:

 21        INTERFOCUS objects to this interrogatory on the ground it is oppressive,
 22 harassing and burdensome because, inter alia, it seeks to require INTERFOCUS to

 23 provide information in response to twenty-two discrete requests for admissions and,

 24 when combined with the previous and subsequent interrogatories served herein,

 25 thereby exceeds the twenty-five interrogatory established by Fed. R. Civ. Proc. 33.

 26 INTERROGATORY NO. 22:

 27        If any of YOUR response to any of Plaintiff’s Requests for Admissions (Set
 28 ONE) is not an unqualified admission, IDENTIFY ALL DOCUMENTS stating
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      INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1 mentioning, referring to, memorializing, discussing, evaluating, commenting, or

  2 reporting any facts supporting such a response.

  3 RESPONSE TO INTERROGATORY NO. 22:

  4        INTERFOCUS objects to this interrogatory on the ground it is oppressive,
  5 harassing and burdensome because, inter alia, it seeks to require INTERFOCUS to

  6 provide information in response to twenty-two discrete requests for admissions and,

  7 when combined with the previous and subsequent interrogatories served herein,

  8 thereby exceeds the twenty-five interrogatory established by Fed. R. Civ. Proc. 33.

  9 INTERROGATORY NO. 23:

 10        IDENTIFY ALL PERSONS whom the signor of the verification of the
 11 responses to these interrogatories met, discussed with, checked with, confirmed

 12 with, relied on, in order to confirm the truthfulness of the responses, before signing

 13 the verification.

 14 RESPONSE TO INTERROGATORY NO. 23:

 15        INTERFOCUS objects to this interrogatory on the grounds that it seek
 16 information protected by the attorney-client and attorney work product privileges,

 17 and on the ground that it is oppressive, harassing, and burdensome.

 18                                           RIMON, P.C.
 19 Dated: May 3, 2021

 20                                       By: /s/ Mark S. Lee
 21                                           Mark S. Lee
                                              Zheng Liu
 22
                                              Attorneys for Defendants and
 23                                           Counterclaim Plaintiffs
 24                                           INTERFOCUS, INC. d.b.a.
                                              www.patpat.com
 25

 26

 27

 28
                                      -16-
        INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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  1                                PROOF OF SERVICE
  2         I, Cheryl Lovdahl, am over the age of 18 and not a party to this action. My
  3 place of business is 800 Oak Grove Avenue, Suite 250, Menlo Park, CA 94025. On

  4 May 3, 2021, I served the following attached document(s):

  5         1.    DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC.
                  d.b.a. WWW.PATPAT.COM’S RESPONSES TO PLAINTIFF AND
  6               COUNTERCLAIM DEFENDANT’S REQUEST FOR INTERROGATORIES
  7
      on the person(s) listed below in the following manner/s:
  8
               BY UNITED STATES MAIL. I enclosed the document(s) in a
  9
               sealed envelope or package addressed to the person(s) at the
 10            address(es) below and placed the envelope for collection and
               mailing following our ordinary business practices. I am readily
 11
              familiar with this business' practice for collecting and processing
 12            documents for mailing. On the same day that correspondence is
               placed for collection and mailing, it is deposited in the ordinary
 13
               course of business with the United States Postal Service in a sealed
 14            envelope with postage fully prepaid.
 15            BY ELECTRONIC MAIL. I sent the persons below copies of the
              documents via electronic mail at the email addresses below.
 16

 17         The following party was served the above-referenced document(s):
 18                        Chan Yong Jeong, Esq. (SBN: 255244)
                                 jeong@jeonglikens.com
 19
                                JEONG & LIKENS, L.C.
 20                             222 South Oxford Avenue
                              Los Angeles, California 90004
 21
                                 Telephone: 213.688.2001
 22                              Facsimile: 213.315.5035
 23         I declare under penalty of perjury under the laws of the State of California
 24 that the foregoing is true and correct.

 25

 26 DATED: May 3, 2021                                  /s/ Cheryl Lovdahl
                                                        Cheryl Lovdahl
 27

 28
                                       -17-
         INTERFOCUS’ RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
